             IN THE COURT OF APPEALS OF NORTH CAROLINA

                                 No. COA19-261

                                Filed: 5 May 2020

Guilford County, No. 15JT 108

IN THE MATTER OF: N.N.B.




      Appeal by respondent from order entered on or about 6 November 2018 by

Judge Tonia A. Cutchin in District Court, Guilford County. Heard in the Court of

Appeals 18 February 2020.



      Mercedes O. Chut, for petitioner-appellee Guilford County Department of
      Health and Human Services.

      David A. Perez for respondent-appellant father.

      Parker Poe Adams &amp; Bernstein LLP, by Lisa Sperber, for guardian ad litem.


      STROUD, Judge.


      Respondent appeals termination of his parental rights. Because the evidence

supports the trial court’s finding of fact that respondent lacks an appropriate

alternative child care arrangement, it did not err by concluding that Neal is a

dependent juvenile or by terminating respondent’s parental rights on this basis. We

affirm.

                                   I.     Background
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                                          Opinion of the Court



          On 30 May 2017, the Guilford County Department of Health and Human

Services (“DHHS”) filed a petition alleging that Neal,1 age 11 at the time of the

petition, was a neglected and dependent juvenile. The allegations in the petition

focus on Neal’s mental health issues exhibited in his problematic behaviors which

include suicidal ideations, harming animals, and starting fires. This appeal concerns

only Neal’s father, respondent, as Neal’s mother relinquished her parental rights in

2018.

          Respondent is incarcerated serving a term of 461 years for rape, burglary, and

other crimes. Respondent has not seen Neal since 2012 even though he was not

incarcerated until 2014. Ultimately, respondent’s rights were terminated based on

failure to properly establish paternity, failure to provide proper care and supervision,

and abandonment. Respondent appeals.

                    II.    Failure to Provide Proper Care and Supervision
          22
          Respondent challenges each ground of termination.

                 A proceeding to terminate parental rights is a two step
                 process with an adjudicatory stage and a dispositional
                 stage. A different standard of review applies to each stage.
                 In the adjudicatory stage, the burden is on the petitioner
                 to prove by clear, cogent, and convincing evidence that one
                 of the grounds for termination of parental rights set forth
                 in N.C. Gen. Stat. § 7B–1111(a) exists. The standard for
                 appellate review is whether the trial court’s findings of fact
                 are supported by clear, cogent, and convincing evidence
                 and whether those findings of fact support its conclusions


1   We have used a pseudonym to protect the identity of the juvenile.

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                                   Opinion of the Court



              of law.     Clear, cogent, and convincing describes an
              evidentiary standard stricter than a preponderance of the
              evidence, but less stringent than proof beyond a reasonable
              doubt.
                     If the petitioner meets its burden of proving at least
              one ground for termination of parental rights exists under
              N.C. Gen. Stat. § 7B–1111(a), the court proceeds to the
              dispositional phase and determines whether termination of
              parental rights is in the best interests of the child. The
              standard of review of the dispositional stage is whether the
              trial court abused its discretion in terminating parental
              rights.

In re D.R.B., 182 N.C. App. 733, 735, 643 S.E.2d 77, 79 (2007). “Unchallenged

findings are binding on appeal.” In re C.B., 245 N.C. App. 197, 199, 783 S.E.2d 206,

208 (2016).

      North Carolina General Statute § 7B-1111 provides,

                    (a)    The court may terminate the parental rights
              upon a finding of one or more of the following:
                           (6)    That the parent is incapable of
                                  providing for the proper care and
                                  supervision of the juvenile, such that
                                  the juvenile is a dependent juvenile
                                  within the meaning of G.S. 7B-101, and
                                  that there is a reasonable probability
                                  that the incapability will continue for
                                  the foreseeable future. Incapability
                                  under this subdivision may be the
                                  result of substance abuse, intellectual
                                  disability, mental illness, organic brain
                                  syndrome, or any other cause or
                                  condition that renders the parent
                                  unable or unavailable to parent the
                                  juvenile and the parent lacks an
                                  appropriate alternative child care
                                  arrangement.


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                                    Opinion of the Court




N.C. Gen. Stat. § 7B-1111 (2017).

             A dependent child is defined as a juvenile in need of
             assistance or placement because the juvenile’s parent,
             guardian, or custodian is unable to provide for the care or
             supervision and lacks an appropriate alternative child care
             arrangement. Under this definition, the trial court must
             address both (1) the parent’s ability to provide care or
             supervision, and (2) the availability to the parent of
             alternative child care arrangements.

In re P.M., 169 N.C. App. 423, 427, 610 S.E.2d 403, 406 (2005) (citation, quotation

marks, ellipses, and brackets omitted).

      Here, respondent concedes that due to his lengthy incarceration he cannot

provide care or supervision but contends that he proposed two relative placements –

his mother and sister. Respondent contends “[t]he real issue before this Court is

whether . . . [he] lacked an ‘appropriate alternative child care arrangement.’”

Respondent also does not challenge the trial court’s findings of fact regarding his

mother and sister. Respondent’s mother “when contacted . . . stated she had failing

health and was residing in a retirement community that did not allow children.” The

trial court found respondent’s sister was not a “viable” option as Neal had been in

level IV psychiatric treatment and had been moved to a level III group home. DHHS

determined, and the trial court found, that no relative placement would be

appropriate at this time because of the level of care Neal requires. Again, respondent

does not challenge these findings of fact as unsupported by the evidence but contends



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                                  Opinion of the Court



“[t]his matter is unusual in that no relative placement could have been considered

immediately appropriate as of the termination hearing.”

      Respondent notes his sister had been Neal’s primary caregiver from his birth

until 2008, when she moved to Georgia. Because respondent’s sister lived in Georgia,

an Interstate Compact on the Placement of Children (“ICPC”) home study was

required before Neal could be placed in her home. DHHS completed an ICPC Case

Manager Statement of Interest form for respondent’s sister and allowed her to have

weekly telephone contact with Neal, continuing up to the time of the termination

hearing. Respondent further explains that the trial court had also ordered DHHS to

initiate the ICPC home study for his sister. But at that time, Neal was placed in

Level IV Psychiatric Residential Treatment Facility (“PRTF”).          When DHHS

contacted the ICPC office, they asked that DHHS first determine the discharge plan

for Neal from the PRTF. The PRTF recommended that Neal transition to a Level III

group home and did not recommend placement with a relative because of Neal’s

substantial needs for psychiatric care. DHHS then suspended its plan to place Neal

with respondent’s sister, although DHHS still had plans to submit the ICPC request

if a relative placement was ever deemed appropriate for Neal. Thus, respondent

argues that he offered his sister as an appropriate child care arrangement but he was

not allowed to have “any input or involvement whatsoever in the decision to transition

Neal from a PRTF to a Level III group home.” Respondent contends that even if he



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                                  Opinion of the Court



had not been incarcerated, “there is no reason to believe he would have had any more

actual involvement as to the placement of his child in a level III group than he had

while incarcerated.”

      Respondent cites to In re C.B., where the child’s mother did not propose

appropriate child care alternatives and was uncooperative with DSS’s attempts to

provide mental health services for the child. 245 N.C. App. at 211, 783 S.E.2d at 216.

But C.B. is inapposite to this case. See id., 245 N.C. App. 197, 783 S.E.2d 206.

      In C.B., the child suffered from severe mental health problems which resulted

in “aggressive, assaultive, dangerous behaviors[.]” Id. at 203, 783 S.E.2d at 211. The

child had been hospitalized several times, but the mother minimized the problem and

claimed the child just had “seizures” although there was no evidence of any seizure

disorder. Id. at 205, 783 S.E.2d at 212. The mother repeatedly refused to participate

in intensive in-home treatment for the child because she believed she could handle

the child on her own. See id. In C.B., the mother challenged the trial court’s findings

of the severity of the child’s mental needs and contended she was able to care for the

child properly herself. See id. at 206, 783 S.E.2d at 212.

      Respondent does not challenge the trial court’s findings regarding Neal’s

serious mental health issues or need for a Level III placement. Respondent contends

only that his sister is an “appropriate” placement in that she is available and willing

and has a close relationship with Neal. But respondent’s sister is not an “appropriate”



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                                    Opinion of the Court



placement for Neal because of his psychiatric needs. Respondent’s sister may well be

an “appropriate” placement for a child who does not require such a high level of care,

but not for Neal.

       Accordingly, the trial court did not err in concluding that Neal is a dependent

juvenile and that respondent’s rights should be terminated under North Carolina

General Statute § 7B-1111(a)(6). This argument is overruled. As we have found one

ground for termination, we need not address the others. See In re B.S.D.S., 163 N.C.

App. 540, 546, 594 S.E.2d 89, 93–94 (2004) (“Having concluded that at least one

ground for termination of parental rights existed, we need not address the additional

ground[s] . . . found by the trial court.”).

                                       III.     Conclusion

       For the foregoing reasons, we affirm.

       AFFIRMED.

       Judges INMAN and YOUNG concur.




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